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                                                                               FILED
                             NOT FOR PUBLICATION
                                                                               MAY 22 2020
                     UNITED STATES COURT OF APPEALS                         MOLLY C. DWYER, CLERK
                                                                             U.S. COURT OF APPEALS


                             FOR THE NINTH CIRCUIT


  EDWARD FEINSTEIN, individually and              No.   18-56225
  on behalf of all others similarly situated,
                                                  D.C. No.
               Plaintiff-Appellant,               2:18-cv-03351-JFW-FFM

   v.
                                                  MEMORANDUM*
  FOUR SEASONS HOTELS LIMITED, a
  Canadian corporation; DOES, 1 to10,
  inclusive,

               Defendants-Appellees.


                     Appeal from the United States District Court
                        for the Central District of California
                      John F. Walter, District Judge, Presiding

                              Submitted April 16, 2020**
                                 Pasadena, California

 Before: THOMAS, Chief Judge, and FERNANDEZ and W. FLETCHER, Circuit
 Judges.




        *
              This disposition is not appropriate for publication and is not precedent
 except as provided by Ninth Circuit Rule 36-3.
        **
              The panel unanimously concludes this case is suitable for decision
 without oral argument. See Fed. R. App. P. 34(a)(2).
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        Edward Feinstein appeals the district court’s order granting Four Seasons

 Hotels Limited’s (“Four Season’s”) motion to dismiss for lack of personal

 jurisdiction and denying Feinstein leave to file a second amended complaint. We

 review a district court’s grant of a motion to dismiss de novo, and a denial of leave

 to amend for an abuse of discretion. Chinatown Neighborhood Ass’n v. Harris,

 794 F.3d 1136, 1141 (9th Cir. 2015). We affirm the district court’s order.

        Four Seasons, headquartered in Canada, owns or manages over 100

 properties across the world. Seven properties are in California. Four Seasons

 partners with Sabre Hospitality Solutions SynXis Centre Reservations System

 (“Sabre”), a third-party electronic booking platform through which users make

 reservations with hotels and travel agencies. In 2017, Sabre discovered that an

 unauthorized party had accessed information about a subset of reservations

 processed through its system. The breach did not compromise any reservations

 made through Four Seasons’ website, with its main reservation office, or with any

 of its hotels directly.

        Afterwards, counsel in this case filed a putative class action against Sabre

 related to the data breach, which was dismissed with prejudice. See Smith v. Sabre

 Corp., No. 2:17-cv-05149-SVW-AFM (C.D. Cal. Jan. 23, 2018) (ECF 36).

 Counsel also filed suits against several hotels affiliated with Sabre alleging the


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 breach violated various state laws, which were later dismissed either by court order

 or by plaintiffs voluntarily. See Jackson v. Loews Hotels, Inc., No. 5:18-cv-00827-

 DMG-JC, 2019 WL 2619656 (C.D. Cal. Jan. 4, 2019); Balsamo v. Kimpton Hotel

 & Rest. Grp., LLC, No. 2:18-cv-03356-R-GJS (C.D. Cal. July 13, 2018) (ECF 14);

 Cruz v. Two Rds. Hosp. LLC, No. 2:18-cv-03357-MWF-MRW (C.D. Cal. Aug. 31,

 2018) (ECF 19); Hsiao v. SBE ENT Holdings, LLC, No. 2:18-cv-03358-JAK-AS

 (C.D. Cal. Sept. 14, 2018) (ECF 23).

       Plaintiff Edward Feinstein, a citizen and resident of California, then filed a

 putative class action suit against Four Seasons on behalf of himself and all

 similarly situated residents “who have made a booking at any of [Four Seasons’]

 hotels” during the data breach period, alleging violations of state laws related to the

 Sabre breach. Four Seasons moved to dismiss on several grounds, including lack

 of personal jurisdiction. Without waiting for a ruling from the district court,

 Feinstein filed an amended complaint, alleging that but for Four Season’s

 “business activities as a ‘manager of North American hotels’ within the State of

 California,” he and other class members would not have been able to book Four

 Seasons rooms.

       Feinstein fails to bear his burden of showing that jurisdiction is appropriate.

 See Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004).


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 On appeal, Feinstein appears to acknowledge the insufficiency of the allegations in

 his first amended complaint, describing to the district court allegations he would

 add to the complaint and arguing that “he should be able to save his complaint” by

 amending yet again.

       The district court did not err in dismissing Feinstein’s complaint without

 leave to amend. See Missouri ex rel. Koster v. Harris, 847 F.3d 646, 655–56 (9th

 Cir. 2017). Even his proposed second amended complaint would not allege

 sufficient facts to support personal jurisdiction. See Amba Mktg. Sys., Inc. v. Jobar

 Int’l, Inc., 551 F.2d 784, 787 (9th Cir. 1977).1

       AFFIRMED.




       1
         Feinstein’s motion for judicial notice [DE 15] of materials that were
 publicly available since 2011 is DENIED. See Jesperson v. Harrah’s Operating
 Co., 444 F.3d 1104, 1110 (9th Cir. 2006).
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